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                 UNITED STATES DISTRICT COLIRT
               MIDDLE DISTRICT OF PENNSYLVANIA

UMTED STATES OFAMERICA                      )       cR. NO. 1:18-CR-48
                                            )
           v                                )       (.luocr wrLSoN)
                                            )
CHARLES NOLDEN,                             )       (Electronically FiIe d)
   Defendant.                               )

                   STIPERSEDING INFORMATION

THEACTING U.S. ATTORNEY CIIARGES:

                                COUNT           1
                    Felon in Possession of a Firearm
                           (rs u.s.c.   S   ez2(d)

     On or about August 23, 2017, in the Middle District of

Pennsylvania, the defendant,

                         CIIARLES NOLDEN,

knowing that he had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, did knowingly possess in

and affecting interstate commerce a firearm and ammunition, that is.

an Anderson AR-15 rifle, serial number 15108089, a magazine with B0

rounds and an additional 150 rounds of 5.56 caliber ammunition. that

were all manufactured outside the Commonwealth of Pennsylvania, and

therefore had been shipped and transported in interstate commerce.

     AII in violation of Title 18 United States Code Section SZZG)O).
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THE ACTING U.S. ATTORNEY FLIRTHER CIIARGES:

                                COUNT 2
       Possession of a Firearm in Furtherance of Drug Traffrcking
                            (18   u.s.c.   g e2a(c))

      On or about August 23, 2017, in the Middle District of

Pennsylvania, the defendant,

                           CIIARLES NOLDEN,

did knowingly and intentionally possess a firearm, that is, an Anderson

AR-15 rifle, serial number 151080889, in furtherance of a drug

trafficking crime for which the defendant may be prosecuted in a court

of the United States, that is, distribution and possession with the intent

to distribute heroin.

     All in violation of Title   18, United States Code, Sectiong24G).


THE GOVERNMENIT FTIRTHER CHARGES:

                        FORFEITURE ALLEGATION

     The allegations contained in Counts 1 and 2 ofthis Superseding

Information are hereby realleged and incorporated by reference for the

purpose of alleging forfeitures pursuant to Title 18, United States Code,

Section 924(dand Title 28, United States Code, Section246l(d.

                                       2
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     Upon conviction of the offenses in violation of Title 18, United

States Code, Sectiong22@) and924(c), set forth in Counts 1 and 2 of

this Superseding Information, the defendant,

                            C}IARLES NOLDEN.

shall forfeit to the United States pursuant to Title 18, United States

Code, Section 924(d) and Title 28, United States code, Section 2461(c),

any firearms and ammunition involved in the commission of the offense,

including but not limited to:

        a. an Anderson AR-15 rifle, serial number 15108089, including

             a magazine   with 30 rounds of 5.56 caliber ammunitioni and

        b.   150 rounds of 5.56 caliber ammunition.

      If any of the property    described above, as the result of any act or

omission of the defendant:

        a. cannot be located upon the exercise of due diligencei
        b. has been transferred or sold to, or deposited with, a third
             partyi
        c. has been placed beyond the jurisdiction ofthe courti
        d. has been substantially diminished in valuei or
        e. has been commingled with other property which cannot         be
           divided without difficulty,


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the United States of America shall be entitled to forfeiture of substitute

property pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 28, United States Code, Section 2461(c).

     All pursuant to 18 U.S.C. S 924(d) and 28 U.S.C. $ 2a61(c).



BRUCE D. BRANDLER
ACTING UNITED STATES ATTORNEY



    k4
SCOTT R. FORD
                                        Date:        ./te/.o
ASSISTANT U.S. ATTORNEY




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